           Case 1:17-cv-09427-ER Document 17-1 Filed 03/21/18 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------- x
MIAO XIN HU, on behalf of herself and all :
others similarly situated,                                :
                              Plaintiff,                  :
                                                          :
                                                          :
                                                          :
                                                          :   Case No. 1:17-cv-09427
                                                          :
                                                          :
                       - against -                        :
IOVATE HEALTH SCIENCES U.S.A. INC., :
                             Defendant.
-------------------------------------------------------- x



    PLAINTIFF MIAO XIN HU’S RULE 56.1 STATEMENT OF MATERIAL FACTS



    1. Plaintiff Miao Xin Hu (“Plaintiff”), by her attorneys, Lee Litigation Group, PLLC, submits

the following statement of material facts as to which Plaintiff contends there are no genuine issues

to be tried, pursuant to Local Civil Rule 56.1 of the Civil Local Rules of the United States District

Courts for the Southern and Eastern Districts of New York.

    2. Defendant Iovate Health Sciences U.S.A., Inc. (“Defendant”) manufactures and distributes

the following products: (1) 1.5 lbs. Herbal Zen Nutrition™ Plant-Based Protein (the “Product” or

“Herbal Zen”), (2) 2.0 lbs. Purely Inspired™ 100% plant-based Protein (“Purely Inspired”), (3)

8.57 oz. Purely Inspired™ Organic Greens (“8.57 oz. Organic Greens”), and (4) 7.17 oz. Purely

Inspired™ Organic Greens (“7.17 oz. Organic Greens”).

    3. The protein powder in the chocolate-flavored Herbal Zen is chemically identical to the

protein powder in the chocolate-flavored Purely Inspired.
            Case 1:17-cv-09427-ER Document 17-1 Filed 03/21/18 Page 2 of 4



   4. The protein powder in the other flavors of Herbal Zen are chemically identical to the

protein powder in the identically-flavored Purely Inspired.

   5. The Herbal Zen container and the Purely Inspired container are both 7 inches in height and

4.75 inches in diameter.

   6. Except for their labels, Herbal Zen containers are physically identical to Purely Inspired

containers.

   7. There is 1.5 lbs. of protein powder in Herbal Zen and 2.0 lbs. of protein power in Purely

Inspired.

   8. The fill level in Purely Inspired is 33% higher than the fill level in Herbal Zen.

   9. Defendant would have faced no physical, technological, or other obstacle to filling Herbal

Zen with 33% more protein powder than it in fact contains.

   10. Stores that sell Purely Inspired and Herbal Zen also sell many products whose containers

are at least 25% smaller than the Purely Inspired or Herbal Zen containers.

   11. The 8.57 oz. Organic Greens container is less than 6 inches in height and less than 3.5

inches in diameter.

   12. The 7.17 oz. Organic Greens container is 4.5 inches in height and 3.6 inches in diameter.

   13. Containers that are 25% smaller would not impede labeling or handling, encourage

pilfering, or preclude tamper-proof devices.




                                                2
        Case 1:17-cv-09427-ER Document 17-1 Filed 03/21/18 Page 3 of 4




Dated: March 21, 2018

                                    Respectfully submitted,


                                    /s/ C.K. Lee
                                    By: C.K. Lee, Esq.


                                    LEE LITIGATION GROUP, PLLC
                                    C.K. Lee (CL 4086)
                                    Anne Seelig (AS 3976)
                                    30 East 39th Street, Second Floor
                                    New York, NY 10016
                                    Tel.: 212-465-1180
                                    Fax: 212-465-1181
                                    Attorneys for Plaintiff and the Class




                                       3
         Case 1:17-cv-09427-ER Document 17-1 Filed 03/21/18 Page 4 of 4




                                CERTIFICATE OF SERVICE

I hereby certify that on March 21, 2018, I caused the foregoing Plaintiff’s Rule 56.1 Statement of

Material Facts to be served via ECF upon all counsel of record.


                              /s/ C.K. Lee
                              C.K. Lee, Esq.




                                                4
